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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :          24-CR-358 (JMF)
                                                                       :
BRUCE MORRIS,                                                          :       SCHEDULING ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        Trial in this case is scheduled for January 13, 2025 at 9:30 a.m.

        It is hereby ORDERED that any proposed voir dire, proposed jury instructions, and
proposed verdict forms, as well as any motions in limine or trial memoranda, shall be filed — in
accordance with the Court’s Individual Rules and Practices for Criminal Cases, available at
http://nysd.uscourts.gov/judge/Furman — by December 20, 2024. 1 Any opposition to a motion in
limine or trial memorandum shall be filed by January 3, 2025.

        In accordance with the Court’s Individual Rules and Practices for Criminal Cases, the
parties should not submit courtesy copies of any submissions, unless the Court orders otherwise.
Further, the proposed voir dire, proposed jury instructions, and proposed verdict forms must be e-
mailed, in Microsoft Word format, to Furman_NYSDChambers@nysd.uscourts.gov.

       It is further ORDERED that the parties appear for a final pretrial conference on January 9,
2025, at 11:00 a.m. in Courtroom 1105 of the Thurgood Marshall Courthouse, 40 Centre Street,
New York, New York 10007. The final pretrial conference must be attended by the attorney
who will serve as principal trial counsel.

        The parties must familiarize themselves with the Court’s Individual Rules and Practices for
Trials, available at http://nysd.uscourts.gov/judge/Furman.

        SO ORDERED.

Dated: November 20, 2024                                   __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge

1
        Per Paragraph 8.D of the Court’s Individual Rules and Practices for Criminal Cases, “[n]o
motion in limine will be considered or decided unless the moving party’s submission includes a
certification that, prior to filing the motion, the parties conferred, in person or by telephone, in a
good faith effort to resolve the issue(s) asserted in the motion without the intervention of the Court
and were unable to reach an agreement.”
